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                   UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW MEXICO
                                           MINUTE SHEET
                            BEFORE THE HONORABLE MATTHEW L. GARCIA

                                                         Motion Hearing

MD No:      24-3119 MLG-LF         Date:            July 15, 2025

Caption: In Re: Shale Oil Antitrust Litigation

Clerk:      E. Romero              Court Recording:           Liberty                      Courtroom:    Cimarron

Time In:    9:32                   Time Out:        11:45                   Total Time:    2 hours 1 minute

Court’s Ruling/Disposition:        Court takes matters under advisement and will enter orders.

Attorney(s) Present for Plaintiff(s):                               Attorney(s) Present for Defendant(s):

See attached seating charts                                         See attached seating charts

                                                         PROCEEDINGS
9:32 Court in session; parties state appearances.
Mr. Fata addresses Court and answers Court’s question re: derivatives class issue. Doc. 217.
Mr. Bershteyn responds.
Mr. Coughlin responds – requests Court keep only one liaison.
Court will keep the case and an order will be entered.
Mr. Beck responds.
Mr. Smith addresses Motion to Intervene. Doc. 153.
Mr. Smith answers Court’s questions.
10:32 Court in recess.
10:44 Court in session.
Ms. Swope responds.
Ms. Swope answers Court’s questions.
Mr. Bershteyn responds and answers Court’s questions.
Mr. Smith rebuttal.
Mr. Smith answers Court’s questions.
Court will take the matter under advisement and enter an order.
11:45 Court is adjourned.
